                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:02-cr-27
 vs.                                                   )       Mag. No. 1-05-mj-313
                                                       )
 GERALD J. FROST                                       )       JUDGE COLLIER


                                  MEMORANDUM & ORDER
                                ARRAIGNMENT ON INDICTMENT

         In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment
 of the defendant, GERALD J. FROST, on the indictment returned by the Grand Jury was held
 before the undersigned on September 1, 2005.

          Those present for the hearing included:

          (1) AUSA Gregg Sullivan for the USA.
          (2) The defendant, GERALD J. FROST.
          (3) Atty. Chris Lanier for defendant.
          (4) Courtroom Deputy Pam Scott.
          (5) Court Reporter Shannan Andrews.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded under the 5th Amendment to the United States
 Constitution. The person present was the defendant named in the indictment.

         The defendant acknowledged having been provided with a copy of the indictment. The
 defendant waived a formal reading of the indictment, and entered not guilty pleas to each count
 of the indictment.

          Presently, the case is assigned the dates set forth in a separate Discovery and Scheduling
 Order.

          ENTER.


                                        s/William B. Mitchell Carter
                                        UNITED STATES MAGISTRATE JUDGE




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